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             IN THE UNITED STATES DISTRICT COURT FOR THE)                 NOV 16 I-"..2        i
                     EASTERN DISTRICT OF VIRGINIA                                              i




                          Alexandria Division                         1                    -


UNITED   STATES OF AMERICA


V.                                         I:12cr223     (LMB)

HAMADA MAKARITA,


     Defendant.



                                 VERDICT FORM


     The jury unanimously finds as follows:

    As to Count 1 - Conspiracy to unlawfully distribute and
dispense controlled substances - we the jury unanimously find
the defendant,     Hamada Makarita,

           Not Guilty                           Guilty     X

     As to Count 2 - Unlawful distribution and dispensing
Vicodin to Janet Brumbaugh on November 13, 2007 - we the jury
unanimously find the defendant, Hamada Makarita,

           Not Guilty                           Guilty     X

     As to Count 3 - Unlawful distribution and dispensing
Vicodin to Janet Brumbaugh on January 23, 2008 - we the jury
unanimously find the defendant, Hamada Makarita,

           Not Guilty                           Guilty      y
     As to Count 4 - Unlawful distribution and dispensing
Vicodin to Janet Brumbaugh on July 19, 2008 - we the jury
unanimously find the defendant,        Hamada Makarita,

           Not Guilty        X                  Guilty
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    As to Count 5 - Unlawful distribution and dispensing
Dilaudid to Reem Hammoud on April 24, 2008 - we the jury
unanimously find the defendant, Hamada Makarita,

          Not Guilty        A                 Guilty


    As to Count 6 - Unlawful distribution and dispensing
Vicodin to Reem Hammoud on January 4, 2010 - we the jury
unanimously find the defendant, Hamada Makarita,

          Not Guilty       tA                 Guilty


    As to Count 7 - Unlawful distribution and dispensing
Vicodin to Reem Hammoud on January 7, 2011 - we the jury
unanimously find the defendant, Hamada Makarita,

          Not Guilty      X/\                 Guilty


    As to Count 8 - Unlawful distribution and dispensing
Percocet to Karen Derder on January 30, 2009 - we the jury
unanimously find the defendant, Hamada Makarita,

          Not Guilty       XA                 Guilty


    As to Count 9 - Unlawful distribution and dispensing
Percocet to Karen Derder on March 27, 2009 - we the jury
unanimously find the defendant, Hamada Makarita,

          Not Guilty       X
                           A                  Guilty


    As to Count 10 - Unlawful distribution and dispensing
Fentanyl to Karen Derder on April 23, 2009 - we the jury
unanimously find the defendant, Hamada Makarita,

          Not Guilty                          Guilty     X
    As to Count 11 - Unlawful distribution and dispensing
Vicodin to Masooda Azad on July 11, 2007 - we the jury
unanimously find the defendant, Hamada Makarita,

          Not Guilty       X
                           f\                 Guilty
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    As to Count 12 - Unlawful distribution and dispensing
Valium to Masooda Azad on July 26, 2007 - we the jury
unanimously find the defendant, Hamada Makarita,

            Not Guilty                        Guilty      X

     As to Count 13 - Unlawful distribution and dispensing
Vicodin to Masooda Azad on January 24, 2008 - we the jury
unanimously find the defendant, Hamada Makarita,

            Not Guilty                        Guilty       X

    As to Count 14 - From March 17, 1998 through May 18 2010
engaging in a scheme to defraud Aetna, a health care benef:it
program - we the jury unanimously find the defendant, lamada
Makarita,

            Not Guilty                        Guilty     X
     If the jury finds Hamada Makarita not guilty as tc Count
14, then you do not need to consider Count 15. If you find
Hamada Makarita guilty as to Count J^T^then you must dejcide
Count 15.                              '|4
    As to Count 15 - From March 17, 1998 through May 18, 2010
unlawfully using the name of another dentist without his
authority in connection with making claims to a health care
benefit program   we the jury unanimously find the defendant,
Hamada Makarita,

            Not Guilty                        Guilty      /
                          i^
  So say we all this /6        day of November, 2012



                                  fSeperson (sign
                                                n ature)




                                  Foreperson (printed)
